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                     TD Bank – Rt 101 Goods/R               – 4372
  Deposit Source      Transactions          Total           Connection to Business

        Cash                87          $142,952.50*
 D      M                   1             $4001.00       Memo on Check was “BTC
                                                                xchange”
       TOTAL                            $146,953.50


                                       PAYEES
            Payee                       Count                          Total
        Ian Freeman                       7                       -$125,695.00
      Shire Free Church                  16                        -$19,414.76
     Transfer to TD 4848                  2                         -$8,500.00
           TOTAL                                                  -$153,609.76

*R          operated this account as the business account until July 2017. On July 14,
2017, R          signed the “Agreement to Assist Shire Bitcoin’s Outreach Operations
with Banking Support” contract with Freeman, specifically identifying the 4372 account
as the account to be used. Days after July 14, the number of cash deposits into the
account vastly increased. Only deposits made after the July 14, 2017 contract was signed
are included in the government’s calculations.
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Summary of Deposit Sources
Route 101 Goods LLC
TD Business Convenience Plus, A/C 4372
Signatories: C          R         and C       M. F
January 2016 - September 2017

Deposit Source                            Count   Total Deposited Percentage of Total
A.L. G      , C.A. G                        1               $47.00      0.02%
Advance Auto Parts                          1               $22.00      0.01%
A       L. H                                1               $73.00      0.03%
A        H                                  1               $90.00      0.04%
BankCard 3241 BTOT Dep                      37           $1,983.90      0.81%
BankCard 3241 MTOT Dep                     268          $24,240.61      9.89%
BitPay, Inc                                 11             $546.73       0.22%
Blueberry Hill Sheds & Barns                30          $26,756.41      10.91%
Capital One                                  2               $0.38       0.00%
Cash                                       139         $155,734.60      63.52%
C       L. M         ,R      J. M            1              $43.00       0.02%
C        M. F                                3           $2,440.00       1.00%
C     M ,J            M                      3             $154.04       0.06%
D     A.        ,C      I. R                 1              $34.00       0.01%
D     E. W                                   1             $339.90       0.14%
D     M                                      1           $4,001.00       1.63%
Debit Reversal                               1           $4,500.00       1.84%
Deposit Correction                           1             $626.00       0.26%
D     G                                      4             $248.53       0.10%
E        M. B                                2             $812.75       0.33%
E          N                                 1              $23.73       0.01%
E       T                                    1             $114.00       0.05%
Facebook                                     2               $0.40       0.00%
F        V M                                 1              $27.50       0.01%
Free Talk Live, Ian Freeman                  1           $1,500.00       0.61%
Google                                       1               $0.48       0.00%
G    P. K         ,L    J. K                 1              $32.80       0.01%
Home Depot                                   4              $61.37       0.03%
J    R. A      ,S       R. A                 2              $86.90       0.04%
K        W. W       ,C          M. W         1              $32.00       0.01%
M           R. C                             1              $41.13       0.02%
M        E. H                                1              $19.99       0.01%
Michaels Stores                              1               $9.78       0.00%
Overdraft Paid                               1              $46.79       0.02%
P     N. L s                                 1              $18.00       0.01%
Returned Item                               27           $8,525.92       3.48%
Route 101 Goods LLC                          2           $1,400.00       0.57%
R    M. R                                    1           $7,500.00       3.06%
Square Inc.                                 12             $437.25       0.18%
Staples                                      1              $94.99       0.04%
Suntrust Bank                                2               $0.57       0.00%
S     A. M                                   1              $45.00       0.02%
Transfer from CK 4848                        1             $101.30       0.04%
Transfer from SV 9991                        5             $363.26       0.15%
Wells Fargo                                  1           $2,000.00       0.82%
Grand Total                                582         $245,177.01     100.00%




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Route 101 Goods LLC
Summary of Payees
TD Business Convenience Plus, A/C 4372
Signatories: C          R         and C   M. F
January 2016 - September 2017

Payee                                      Count    Total Paid      Percentage of Total
104.9 Nash Icon                               8       -$3,600.00           1.45%
7 Eleven                                     20         -$611.48           0.25%
Ace Rental Center                             1          -$29.70           0.01%
Advance Auto Parts                            1         -$133.59           0.05%
Affirm Com Payments                           3         -$495.00           0.20%
Alie Express                                  1            -$8.20          0.00%
Amazon                                       26       -$1,194.05           0.48%
American Air                                  1         -$354.20           0.14%
Amiccis                                       1          -$30.52           0.01%
Amrei                                         1          -$37.00           0.01%
B     ,H                                      3         -$116.56           0.05%
Bank Fee                                     26         -$434.00           0.17%
BankCard 3241 MTOT Dep                        2         -$284.99           0.11%
BankCard 3241 MTOT Disc                      19       -$1,100.92           0.44%
B       ,A                                    6         -$223.41           0.09%
B        ,A                                   4         -$278.13           0.11%
Beeze Tees LLC                                4         -$178.15           0.07%
Bela Business Consulting LLC                  1          -$26.40           0.01%
B     ,H                                      2          -$90.71           0.04%
B      ,J                                     3         -$117.00           0.05%
Better than Average LLC                       1         -$236.40           0.10%
Blackwater Mustard Co LLC                     2         -$194.00           0.08%
Blueberry Fields                              1          -$20.93           0.01%
BluePay Inc.                                 23         -$502.40           0.20%
Bond Auto Parts Inc                           1            -$3.89          0.00%
B     ,                                       2          -$65.73           0.03%
B       ,K                                    3         -$110.49           0.04%
B     ,D                                      2          -$82.50           0.03%
Canfields Garage                              1         -$100.00           0.04%
Capital Investments                           1         -$153.93           0.06%
Capital One                                   3         -$220.00           0.09%
C         ,M   Family F                       1          -$75.00           0.03%
Cash Depoisted Fee                            1         -$102.25           0.04%
Cash Deposited Fee                            1         -$138.18           0.06%
CB Purchase                                  26       -$1,060.00           0.43%
Ceilich                                       2         -$108.50           0.04%
Ceilidh                                       3         -$168.22           0.07%
C       ,L                                    9         -$385.61           0.16%


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Cherry Garden                                 1           -$20.26      0.01%
Circle K                                      2           -$73.20      0.03%
Citgo                                        22          -$790.35      0.32%
City of Keene                                 1          -$200.00      0.08%
Coinbase                                     35        -$1,799.22      0.72%
C        ,P                                   3          -$163.34      0.07%
C        ,R                                   1          -$220.00      0.09%
Corner News                                   1           -$45.73      0.02%
Cumberland Farm                               4          -$178.11      0.07%
D     ,I                                      2           -$81.40      0.03%
D     ,T                                      7          -$286.22      0.12%
Debit                                         1          -$150.00      0.06%
Debit Reversal                                1        -$4,500.00      1.81%
Dicks Clothing                                1           -$53.97      0.02%
Dollar Tree                                   4           -$28.00      0.01%
DolrTree                                      1           -$10.00      0.00%
D          ,B                                 1          -$150.45      0.06%
Dominos                                       2           -$46.75      0.02%
DTV Directv Service                           1          -$199.11      0.08%
Dunkin                                        2           -$21.69      0.01%
D      ,E                                     3          -$147.13      0.06%
E          ,L                                 2          -$291.14      0.12%
E      ,J                                     3          -$117.43      0.05%
E     N                                       1          -$147.00      0.06%
E         ,W                                  1           -$32.97      0.01%
Eversource                                   19        -$3,920.03      1.58%
E ,L                                          2           -$56.47      0.02%
ExxonMobil                                    6          -$193.92      0.08%
Facebk                                        2           -$69.82      0.03%
Facebook                                     17          -$432.10      0.17%
Fairpoint Communications                      3          -$539.73      0.22%
Far Out Bubbles                               1           -$36.21      0.01%
F        ,M                                   8          -$484.60      0.19%
F         ,S                                  4          -$137.42      0.06%
Flok                                         13          -$258.70      0.10%
Flok                                          4           -$79.60      0.03%
Freeman, Ian                                  7     -$125,695.00      50.55%
GEM Graphics                                  1           -$94.00      0.04%
G         ,T                                  1           -$54.43      0.02%
G      ,K                                     1           -$28.05      0.01%
Google Last Pass                              1           -$12.00      0.00%
G       ,T                                    1           -$32.00      0.01%
Grand Monadnock Maple Farm LLC               12        -$1,111.55      0.45%
Greater Keene Wildlife Rescue & Sanc.         1           -$25.00      0.01%
G           ,L                                1           -$44.54      0.02%


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G       ,J                                   22       -$8,990.00      3.62%
G       ,J                                    2         -$150.00      0.06%
G        ,B                                   1          -$32.94      0.01%
Gulf Oil                                      1            -$4.46     0.00%
G        ,K                                   4         -$229.04      0.09%
Hamshaw Lumber Inc                            1            -$5.99     0.00%
Hannaford                                     3          -$37.62      0.02%
H          ,A                                 7         -$334.92      0.13%
H         C      Chk Orders                   3         -$184.98      0.07%
H      ,K                                     1          -$33.00      0.01%
H          ,L                                 2          -$61.57      0.02%
H ,C                                          2         -$177.10      0.07%
Home Depot                                   22       -$1,005.60      0.40%
Illegible Shift Fabrication                   1         -$225.00      0.09%
In New Hampshrei Made                         1          -$75.00      0.03%
Jacks Crackers LLC                            5         -$236.29      0.10%
J E                                           1          -$46.75      0.02%
J     ,J                                      1          -$31.35      0.01%
J       ,L                                    2          -$86.00      0.03%
Jiffy Mart Citgo                              1          -$44.48      0.02%
Joann Fabric                                  1          -$33.52      0.01%
J     W                                       1          -$15.92      0.01%
J        ,L                                   1          -$45.00      0.02%
J     ,P                                      1          -$39.07      0.02%
K ,S                                          7         -$262.66      0.11%
K       W                                     1          -$77.91      0.03%
Keene Sentinel                                2         -$435.40      0.18%
Keens Industrial Paper                        1            -$2.60     0.00%
K      ,G                                     2          -$65.52      0.03%
K     ,M                                      3         -$148.76      0.06%
K G                                           1          -$49.50      0.02%
L       ,R                                    5         -$259.28      0.10%
L ,H                                          1          -$69.68      0.03%
L         ,S                                  8         -$390.22      0.16%
L     ,B                                      1         -$280.00      0.11%
Legal Zoom                                   21         -$920.15      0.37%
L        ,G                                   1          -$49.70      0.02%
Liberty Utilities                             1         -$212.22      0.09%
L ,J                                          2          -$63.50      0.03%
L       ,A                                   12         -$733.86      0.30%
M         ,K                                  2          -$56.10      0.02%
Market Basket                                19         -$464.17      0.19%
Metal Marine LLC                              7         -$370.63      0.15%
Michaels Stores                               4          -$49.69      0.02%
M        ,E                                   5         -$432.56      0.17%


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Monadnock Living                              1         -$250.00      0.10%
Monadnock Shopper                             1         -$175.00      0.07%
Monadnock Spring Water                        4          -$96.00      0.04%
M        ,P                                   1          -$76.15      0.03%
M        ,K                                   2          -$68.00      0.03%
M      ,J                                     1          -$25.00      0.01%
MSFT                                         20         -$572.58      0.23%
M        ,B                                   3         -$149.60      0.06%
Nash 104.9 Icon                               1         -$350.00      0.14%
N          ,E                                 5         -$568.50      0.23%
N       ,W                                    3         -$194.66      0.08%
New Hampshire Made                            1          -$75.00      0.03%
N          ,E                                 6         -$329.82      0.13%
Norton                                        1          -$99.99      0.04%
N ,E                                          2          -$49.69      0.02%
Ocean Current Art                             1          -$45.60      0.02%
Ocean State                                   1          -$59.51      0.02%
Ocean State Job Lo                            5          -$81.35      0.03%
O        ,C                                   3         -$142.92      0.06%
Overdraft Paid                               14       -$1,260.00      0.51%
Overdraft Ret                                 6         -$665.00      0.27%
Panera Bread                                  1            -$5.32     0.00%
Paypal                                       33         -$723.43      0.29%
P       ,J                                   11         -$843.41      0.34%
P SS                                          1          -$40.00      0.02%
P         ,M                                  4         -$167.20      0.07%
Plastic Printers Com                          1         -$200.00      0.08%
Pmts                                          1            -$0.40     0.00%
Porcupine LLC                                 1          -$32.25      0.01%
P     ,D                                      1          -$76.99      0.03%
P        ,C                                   2          -$81.51      0.03%
Price Chopper                                 5         -$170.28      0.07%
Prime Roast                                   3          -$38.13      0.02%
Prompto Inc                                   1          -$62.95      0.03%
Radi Shack                                    1          -$19.18      0.01%
R      ,D                                    17       -$2,680.65      1.08%
R      ,D                                     1         -$219.75      0.09%
R         ,C                                  1         -$199.00      0.08%
R           ,N                                1         -$101.75      0.04%
R     ,S                                      1          -$89.92      0.04%
Rina Body Boutique LLC                        1          -$47.40      0.02%
Rite Aid                                      1            -$4.99     0.00%
R     ,R                                      1          -$38.49      0.02%
R ,D                                          4         -$154.38      0.06%
Route 101 Goods                               4            -$4.00     0.00%


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Route 101 Goods LLC                           3       -$2,100.00      0.84%
Roy Bost Oil Propane                          1         -$666.10      0.27%
Roy Bros Oil and Propane                      1         -$389.51      0.16%
Rymes                                         1         -$275.00      0.11%
S         ,E                                  3         -$149.88      0.06%
S        ,D                                   3         -$114.57      0.05%
S            ,M                               1          -$31.00      0.01%
Shaws                                         3         -$134.19      0.05%
Sherwin Williams                              1          -$37.50      0.02%
Shire Free Church                            16      -$19,414.76      7.81%
Simplisafe Com                               18         -$449.82      0.18%
S          ,M                                 1          -$90.17      0.04%
Square Inc.                                   1            -$0.49     0.00%
S        ,E                                   1          -$41.02      0.02%
Staples                                      33       -$1,716.35      0.69%
State of NH DMV                               1         -$110.40      0.04%
Subway                                        1          -$27.63      0.01%
Sunoco                                        1          -$29.01      0.01%
Swift Vox                                     1          -$25.00      0.01%
T Bird Mini Mart                              1          -$12.00      0.00%
Target                                        1            -$3.48     0.00%
Team Lord                                     1          -$28.32      0.01%
The Keene Sentinel                            1          -$60.00      0.02%
Third Shift Fabrication                       2         -$245.00      0.10%
Thistles LLC                                  4         -$183.68      0.07%
TJ Maxx                                       1          -$12.99      0.01%
Town of Alstead                               2         -$349.50      0.14%
Transfer to CK 4848                           2       -$8,500.00      3.42%
Transfer to SV 3966                           1         -$249.80      0.10%
Transfer to SV 9991                          16         -$400.00      0.16%
Traxia                                       18       -$3,582.00      1.44%
Traxis                                        1         -$199.00      0.08%
Turning Leaf                                  1          -$35.00      0.01%
TWC                                          17       -$2,372.23      0.95%
U         ,C                                  5         -$333.14      0.13%
USPS                                          8         -$121.73      0.05%
V        ,B                                   3         -$248.94      0.10%
Verizon Wireless                              4         -$789.02      0.32%
Walgreens                                     1          -$33.04      0.01%
W       ,N                                    1          -$49.49      0.02%
Walmart                                      21       -$1,417.55      0.57%
W       ,K                                    8         -$580.37      0.23%
W       ,K                                    1          -$30.74      0.01%
Wells Fargo                                   1         -$240.00      0.10%
WG E                                          1         -$256.28      0.10%


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W      ,M                                       8         -$644.08    0.26%
W ,J                                           18       -$1,631.26    0.66%
Withdrawal                                     12         -$952.63    0.38%
W ,M         A                                 11       -$3,086.61    1.24%
Wooden Wings Realistic Bird Scupltures          1          -$29.27    0.01%
Yelp                                            8       -$2,633.60    1.06%
Z     C                                         1          -$26.24    0.01%
W     M      A (Returned)                       3       -$2,174.65    0.87%
V        ,B       (Returned)                    1          -$83.60    0.03%
W ,J        (Returned)                          1         -$341.04    0.14%
C      ,L       (Returned)                      1          -$57.35    0.02%
N ,E       (Returned)                           1          -$35.04    0.01%
Ceilidh (Returned)                              2         -$148.18    0.06%
Metal Marine LLC (Returned)                     1          -$51.24    0.02%
J      ,L       (Returned)                      1          -$46.75    0.02%
L ,H         r (Returned)                       1          -$41.68    0.02%
G           ,L       (Returned)                 1          -$44.54    0.02%
B       ,A       (Returned)                     1          -$81.82    0.03%
M     A W (Returned)                            1         -$224.39    0.09%
K ,S            (Returned)                      4         -$227.00    0.09%
Jacks Crackers LLC (Returned)                   2         -$132.94    0.05%
L      ,A         (Returned)                    2          -$99.26    0.04%
Monadnock Shopper (Returned)                    1         -$175.00    0.07%
L        ,S        (Returned)                   1          -$30.31    0.01%
Toyota Motor Credit Corporation (Returned)      1       -$4,500.00    1.81%
R , D (Returned)                                1          -$31.13    0.01%
Grand Total                                  1,097   -$248,651.45    100.00%




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